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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA


 BRIAN DAVIS,                          )
                                       )
        Plaintiff,                     )
                                       )               Cause No. 2:23-cv-108
        vs.                            )
                                       )
 FRONTIERSMEN, INC.                    )
                                       )
        Defendant.                     )

                               MOTION TO STAY DISCOVERY

        Defendant Frontiersmen, Inc. (“Frontiersmen”), by counsel, and pursuant to Rule 26(c) of

 the Federal Rules of Civil Procedure, moves this Court to stay merits-based discovery pending the

 resolution of venue and forum issues in its Motion to Dismiss the Complaint of Plaintiff Brian

 Davis (“Davis”). In support, Frontiersmen states:

        1.      Frontiersmen has moved to dismiss the Complaint. Because the Motion to Dismiss

 raises a “threshold issue” of determining whether this case can proceed in this Court at all, this

 Court should exercise its broad discretion and stay discovery until it decides that motion.

        2.      Good cause for this Motion is set out in the accompanying supporting brief.

        3.      There is no evidence that a stay will unduly prejudice Davis.

        4.      A stay of discovery will reduce the litigation burden on the parties and on this Court,

 and will preserve the bargain made by the parties.

        WHEREFORE, Frontiersmen, Inc., by counsel, respectfully requests that this Court enter

 an Order staying merits-based discovery in this cause.
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                                                 Respectfully submitted,

                                                 /s/ Wandini B. Riggins
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                                                 Attorneys for the Defendant Frontiersmen, Inc.

                                  CERTIFICATE OF SERVICE

           I hereby certify that on May 18, 2023, a copy of the foregoing document was filed

 electronically. Notice of this filing will be sent to the following parties by operation of the Court's

 electronic filing system. Parties may access this filing through the Court's system.

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                                                         /s/ Wandini B. Riggins
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